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                                                     Monday, 05 February, 2018 01:50:25 PM
                                                              Clerk, U.S. District Court, ILCD
                  UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS

JOLLY JAY MITCHELL,                )
                                   )
                 Plaintiff,        )
                                   )
     v.                            )         17-CV-3267
                                   )
MONTGOMERY COUNTY                  )
JAIL,                              )
                                   )
                 Defendant.        )

          MERIT REVIEW AND CASE MANAGEMENT ORDER

      The plaintiff, proceeding pro se, was granted leave to proceed
in forma pauperis. The case is now before the court for a merit
review of plaintiff’s claims. The court is required by 28 U.S.C. §
1915A to “screen” the plaintiff’s complaint, and through such
process to identify and dismiss any legally insufficient claim, or the
entire action if warranted. A claim is legally insufficient if it “(1) is
frivolous, malicious, or fails to state a claim upon which relief may
be granted; or (2) seeks monetary relief from a defendant who is
immune from such relief.” 28 U.S.C. § 1915A.
      In reviewing the complaint, the court accepts the factual
allegations as true, liberally construing them in the plaintiff's favor.
Turley v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013). However,
conclusory statements and labels are insufficient. Enough facts
must be provided to “state a claim for relief that is plausible on its
face.” Alexander v. U.S., 721 F.3d 418, 422 (7th Cir. 2013)(citation
omitted). The court set this matter for a merit review hearing;
however, on the day of the hearing, the court was notified plaintiff
was being transferred out on a writ and was not available. The
court has reviewed the complaint and makes the following
determination.
     Plaintiff is currently incarcerated at Lawrence Correctional
Center, but plaintiff’s claims arise out of his detention at
Montgomery County Jail. Plaintiff alleges that Captain Isaac placed

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him in a vehicle without a seat belt and drove recklessly, causing
plaintiff to slam his head into the security glass. Once at the
hospital (for reasons not explained in the complaint), plaintiff
alleges that Captain Isaac choked him and forced him to sit down.
Plaintiff also alleges that he was denied drinking water for 5 days
while on suicide crisis watch and that he was not fed for 23 days.
Plaintiff also alleges generally that he was not provided medical
treatment.

       Plaintiff states a Fourteenth Amendment claim for excessive
force against Captain Isaac. See Kingsley v. Hendrickson, 135 S.
Ct. 2466 (2015). Plaintiff also states a claim for deliberate
indifference to a serious medical need and for the alleged denial of
water and food. See Petties v. Carter, 836 F.3d 722, 729-30 (7th
Cir. 2016) (en banc); Budd v. Motley, 711 F.3d 840, 842 (7th Cir.
2013). Plaintiff, however, cannot sue the “Montgomery County
Jail,” See Powell v. Cook County Jail, 814 F. Supp. 757, 758 (N.D.
Ill. 1993), he must sue the individuals responsible for the alleged
deprivations. The court will add Captain Isaac as a defendant.
Plaintiff will need to inform the Court which jail officials were
responsible for the denial of food and water.

IT IS THEREFORE ORDERED:

      1.   Pursuant to its merit review of the Complaint under 28
U.S.C. § 1915A, the court finds that the plaintiff states Fourteenth
Amendment Due Process claims for excessive force against
Defendant Isaac and for deliberate indifference to a serious medical
need against Defendant John Doe. Any additional claims shall not
be included in the case, except at the court’s discretion on motion
by a party for good cause shown or pursuant to Federal Rule of
Civil Procedure 15.

     2.     This case is now in the process of service. The plaintiff is
advised to wait until counsel has appeared for the defendants
before filing any motions, in order to give the defendants notice and
an opportunity to respond to those motions. Motions filed before
defendants' counsel has filed an appearance will generally be denied
as premature. The plaintiff need not submit any evidence to the
court at this time, unless otherwise directed by the court.

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     3.    The court will attempt service on the defendants by
mailing each defendant a waiver of service. The defendants have 60
days from the date the waiver is sent to file an answer. If the
defendants have not filed answers or appeared through counsel
within 90 days of the entry of this order, the plaintiff may file a
motion requesting the status of service. After the defendants have
been served, the court will enter an order setting discovery and
dispositive motion deadlines.
      4.   With respect to a defendant who no longer works at the
address provided by the plaintiff, the entity for whom that
defendant worked while at that address shall provide to the clerk
said defendant's current work address, or, if not known, said
defendant's forwarding address. This information shall be used only
for effectuating service. Documentation of forwarding addresses
shall be retained only by the clerk and shall not be maintained in
the public docket nor disclosed by the clerk.
      5.    The defendants shall file an answer within 60 days of the
date the waiver is sent by the clerk. A motion to dismiss is not an
answer. The answer should include all defenses appropriate under
the Federal Rules. The answer and subsequent pleadings shall be
to the issues and claims stated in this opinion. In general, an
answer sets forth the defendants' positions. The court does not rule
on the merits of those positions unless and until a motion is filed by
the defendants. Therefore, no response to the answer is necessary
or will be considered.
      6.    This district uses electronic filing, which means that,
after defense counsel has filed an appearance, defense counsel will
automatically receive electronic notice of any motion or other paper
filed by the plaintiff with the clerk. The plaintiff does not need to
mail to defense counsel copies of motions and other papers that the
plaintiff has filed with the clerk. However, this does not apply to
discovery requests and responses. Discovery requests and
responses are not filed with the clerk. The plaintiff must mail his
discovery requests and responses directly to defendants' counsel.
Discovery requests or responses sent to the clerk will be returned
unfiled, unless they are attached to and the subject of a motion to
compel. Discovery does not begin until defense counsel has filed an
appearance and the court has entered a scheduling order, which
will explain the discovery process in more detail.
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     7.   Counsel for the defendants is hereby granted leave to
depose the plaintiff at his place of confinement. Counsel for the
defendants shall arrange the time for the deposition.
      8.    The plaintiff shall immediately notify the court, in
writing, of any change in his mailing address and telephone
number. The plaintiff's failure to notify the court of a change in
mailing address or phone number will result in dismissal of this
lawsuit, with prejudice.
      9.   If a defendant fails to sign and return a waiver of service
to the clerk within 30 days after the waiver is sent, the court will
take appropriate steps to effect formal service through the U.S.
Marshals service on that defendant and will require that defendant
to pay the full costs of formal service pursuant to Federal Rule of
Civil Procedure 4(d)(2).
     10. The clerk is directed to enter the standard qualified
protective order pursuant to the Health Insurance Portability and
Accountability Act.
     11. The clerk is directed to add Captain Isaac and John Doe
as defendants. The clerk is directed to terminate the Montgomery
County Jail as a defendant.
     12. The clerk is directed to attempt service on Defendant
Isaac pursuant to the standard procedures.
               Entered this 5th day of February, 2018


                         /s/Harold A. Baker
             ___________________________________________
                         HAROLD A. BAKER
                 UNITED STATES DISTRICT JUDGE




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